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            IN THE UNITED STATES DISTRICT COURT FOR THE
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

RANDY LIEBICH,                                 )
                                               )
                    Plaintiff,                 )      Case No. 11 C 5624
                                               )
                    v.                         )      Judge Robert W. Gettleman
                                               )
WARDEN MARCUS, et al.,                         )      Magistrate Judge Mary Rowland
                                               )
                    Defendants.                )


                     MOTION FOR LEAVE TO REINSTATE

      Plaintiff, Randy Liebich, by his attorneys, Loevy & Loevy, respectfully

requests that this Court vacate the dismissal for want of prosecution entered on

April 28, 2016. In support, Plaintiff states as follows:

      1.     This matter was set for status on April 13 and April 27, 2016. Counsel

for Plaintiff failed to appear at those status hearings and consequently Plaintiff’s

complaint was dismissed, without prejudice, for want of prosecution. Dkt. 259.

      2.     Counsel for Plaintiff’s failure to appear was inadvertent and was not

meant to frustrate or otherwise delay the proceedings of this case.

      3.     On March 30, 2016 Defendants filed a motion to substitute counsel.

Dkt. 250. This motion was granted by the Court on April 8, 2016. Dkt. 256. On

that same day, and in order to give Defendants’ new counsel time to familiarize

themselves with the case, Magistrate Judge Rowland extended expert discovery in

this matter to May 9, 2016, setting a status in the case for May 10, 2016 at 9 a.m.

(and striking the previously set status for April 11, 2016). Dkt. 257.
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       4.    Counsel for Plaintiff mistakenly assumed that this meant that the

status set in front of this Court was similarly stricken. This was a clear, but

inadvertent, error on the part of Plaintiff’s counsel. Counsel for Plaintiff accepts

full responsibility for this mistake but explains that his mistaken assumption was

based on previous status hearings in front of this Court being stricken as a matter

of course pursuant to Judge Rowland resetting certain discovery deadlines. Again,

counsel for Plaintiff was clearly mistaken and sincerely apologizes to this Court for

his error.

       5.    Plaintiff’s case is meritorious and has been dutifully prosecuted

against the Defendants in this matter for more than three years, including more

than a dozen depositions, as well as the retention of an expert witness.

       6.    No party will be prejudiced by reinstatement.



       WHEREFORE, Plaintiff, Randy Liebich, respectfully requests that this Court

vacate the dismissal for want of prosecution entered on April 28, 2016 and allow

Plaintiff to proceed with his claims.



                                               Respectfully submitted,


                                               /s/ Vince Field
                                               Attorney for Plaintiff



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                          CERTIFICATE OF SERVICE

       I, Vince Field, an attorney, certify that on April 29, 2016, I caused the
foregoing Motion to be filed using the Court’s CM/ECF system, which effected
service on all counsel of record.

                                              /s/ Vince Field




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